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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. Case No. 1:19-cr-00018-ABJ

ROGER J. STONE, JR.,
Defendant.

AMERICAN BROADCASTING
COMPANIES, INC.,

CABLE NEWS NETWORK, INC.,

CBS BROADCASTING INC., Leaye to file GRANTED

o/b/o CBS NEWS, GR Zz ZS ZO

DOW JONES & COMPANY, INC., Amy B. Jackson Date
United States District Judge

THE ASSOCIATED PRESS,

THE NEW YORK TIMES CO.,

WP CO. LLC,

d/b/a THE WASHINGTON POST,

Proposed Intervenors.

COMBINED MOTION TO INTERVENE AND FOR PUBLIC ACCESS
AND MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

Pursuant to Local Criminal Rule 47, Proposed Intervenors American Broadcasting
Companies, Inc., Cable News Network, Inc., CBS Broadcasting Inc. on behalf of CBS News,
Dow Jones & Company, Inc., The Associated Press, The New York Times Company, and WP
Company LLC d/b/a/ The Washington Post (collectively, the “Media Coalition’), by and through
undersigned counsel, respectfully seek to intervene in this matter for the limited purpose of

asserting the public’s rights of access to court proceedings and records, and respectfully move
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this Court for an order allowing their representatives access to the hearing in the above-captioned
matter scheduled for 2:00 PM on February 25, 2020 (the “February 25 Hearing”) and to related
filings. In support of this motion the Media Coalition states as follows:

I. The Media Coalition May Intervene For The Limited Purpose Of
Challenging A Restriction To The First Amendment Right Of Access.

The Supreme Court has long held that “representatives of the press and general public
must be given an opportunity to be heard on the question of their exclusion” from judicial
proceedings. Globe Newspapers Co. v. Super. Ct., 457 U.S. 596, 609 n.25 (1982) (internal
marks and citations omitted). The D.C. Circuit has likewise stated that, because “[t]he first
amendment guarantees the press and the public a general right of access to court proceedings and
court documents unless there are compelling reasons demonstrating why it cannot be observed,”
courts must “give the public and press an opportunity to intervene and present their objections to
the court” before that right of access is restricted. Washington Post v. Robinson, 935 F.2d 282,
289 (D.C. Cir. 1991); cf EEOC v. Nat’l Children’s Ctr., Inc., 146 F.3d 1042, 1046 (D.C. Cir.
1998) (recognizing that third parties, including news organizations, “may be allowed to
permissively intervene” in civil matters ‘for the limited purpose of seeking access to materials
that have been shielded from public view either by seal or by a protective order’). Because the
Court proposes to close the presumptively-open February 25 Hearing and has maintained related
filings under seal, the Media Coalition should be permitted to intervene for the limited purpose
of opposing those restrictions based on the First Amendment and common-law rights of access.

II. The Press And Public Should Be Permitted To Attend The February 25 Hearing
And Access Related Filings.

As the Court knows, press organizations, including the members of this Media Coalition,
have sought to vindicate the First Amendment and common-law rights of access to the records of
this matter since its inception. See In re Access to Certain Sealed Court Records, No. 1:19-mc-

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00029-CRC (D.D.C) (seeking access to the warrants, applications, supporting affidavits, and
returns relating to all search or seizure warrants relevant to this prosecution). This motion asserts
the same rights of access, though this time as they apply to a presumptively open judicial
proceeding — namely, the February 25 Hearing — as well as related filings. The Media Coalition
accordingly incorporates by reference its briefing on these right-of-access issues in In re Access
to Certain Sealed Court Records, No. 1:19-mc-00029-CRC, Dkt. Nos. 1-1 and 15, as if fully set
forth here.
Suffice it to say, however, that “[t]he First Amendment guarantees a qualified right of
public access to criminal proceedings.” Jn re Application of WP Co., 201 F. Supp. 3d 109, 117
(D.D.C. 2016) (citing Globe Newspaper, 457 U.S. at 603-04). The Court should therefore allow
public access to the February 25 Hearing and unseal the related filings absent a showing that
closure “is essential to preserve higher values and is narrowly tailored to serve that interest.”
Dhiab v. Trump, 852 F.3d 1087, 1102 (D.C. Cir. 2017) (Williams, J., concurring). Specifically,
to overcome the constitutional access right, the party seeking closure must demonstrate that:
1. There is a substantial probability of prejudice to a compelling interest

if the right is not limited. Press-Enter. Co. v. Super. Ct. (“Press-

Enterprise IP’), 478 U.S. 1, 13-14 (1986); Press-Enter. Co. v. Super.

Ct. (“Press-Enterprise I’), 464 U.S. 501, 510 (1984); Richmond

Newspapers, Inc. v. Virginia, 448 U.S. 555, 580-81 (1980).

2. There is no alternative to a limitation of the access right that will
adequately protect against the threatened harm. Press-Enterprise II,

478 US. at 13-14; Robinson, 935 F.2d 282, 289-90 (D.C. Cir. 1991).

3. Restricting access will effectively protect against the threatened harm.
Press-Enterprise IT, 478 U.S. at 14; Robinson, 935 F.2d at 291-92.

4. The restriction on access is narrowly tailored to minimize the harm to
the public’s access rights. Press-Enterprise IT, 478 U.S. at 13-14;
Robinson, 935 F.2d at 287; see also Shelton v. Tucker, 364 U.S. 479,
488 (1960) (even “legitimate and substantial” interests “cannot be
pursued by means that broadly stifle fundamental personal liberties”).
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Since the motion set to be argued at the February 25 Hearing (Dkt. No. 313) is currently
sealed, as is the Defendant’s motion to open the February 25 Hearing to the public (Dkt. No.
332), the Media Coalition does not presently know what precise issues have led the Court to
close the February 25 Hearing or maintain the related filings under seal. In recently denying
Defendant Stone’s motion seeking the Court’s disqualification, however, the Court stated that the
motion is “based on alleged juror misconduct,” that it “raises questions concerning the
completeness of one juror’s responses during the jury selection process, and it speculates about
exposure to prejudicial extra-record material during deliberations,” and that “it does not include
any allegations, or set out any facts, impugning the integrity of any other juror or jurors.” Feb.
23, 2020 Order (Dkt. No. 333) at 2-3. Given that there already has been public reporting about
such allegations, however, it is unlikely any party can demonstrate that closure of the February
25 Hearing and continued sealing of the related filings could still be essential to preserve higher
values and is narrowly tailored to serve that interest. See, e.g., Yolanda Jones, “Tomeka Hart
breaks silence about serving as juror on Roger Stone trial,” Daily Memphian, Feb. 12, 2020,
stone-juror; Josh Gerstein, “Judge sets hearing on Roger Stone’s new-trial motion,” Politico,
Feb. 24, 2020, https://www.politico.com/news/2020/02/24/roger-stone-hearing-new-trial-motion-
117126 (“The defense motion is believed to refer to a woman who has identified herself as the
foreperson of the jury at Stone’s weeklong trial last November, Tomeka Hart.”).

Indeed, the need for public access to the February 25 Hearing, which will address
“alleged juror misconduct,” is further heightened by recent statements made by President Trump
asserting that one of the jurors in this case was “obviously tainted . . . was an activist against

Trump, said bad things about Trump and said bad things about Stone” and “somehow weaseled
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her way onto the jury.” See Emma Bowman, “Judge Rejects Roger Stone’s Attempt To Remove
Her From His Case,” NPR, Feb. 24, 2020, https:/Avww.npr.org/2020/02/24/808723608/judge-
rejects-roger-stones-attempt-to-remove-her-[rom-his-case. Whatever the merits of Defendant’s
motion and the President’s accusations may be, these allegations are better adjudicated in public
than in private, as “[p]eople in an open society do not demand infallibility from their institutions,
but it is difficult for them to accept what they are prohibited from observing.” Richmond
Newspapers, 448 U.S. at 572. Especially given the highly public criticism regarding this case by
the President himself, it is crucial for the public to be provided access to the February 25 Hearing
and the related filings to avoid questions that inevitably would arise from a sealed proceeding.
CONCLUSION
For all the foregoing reasons, the Media Coalition respectfully requests that the Court

grant this motion, allow access to the February 25 Hearing, and unseal any related filings.

Dated: February 25, 2020 Respectfully submitted,

BALLARD SPAHR LLP

/s/ Jay Ward Brown

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CERTIFICATE OF SERVICE

I hereby certify that on February 25, 2020, I caused the foregoing to be filed and served

electronically via the Court’s ECF system upon all counsel of record.

/s/ Jay Ward Brown
Jay Ward Brown

